     Case 2:13-cr-06070-SAB       ECF No. 25-1       filed 12/13/13   PageID.51    Page 1 of
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 4   Attorneys for Defendant
     KENNETH ROWELL
 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                       )
                                                     )      CR-13-6070-WFN
 8             Plaintiff,                            )
                                                     )
 9     vs.                                           )      ORDER GRANTING MOTION TO
                                                     )      REOPEN DETENTION HEARING
10   KENNETH ROWELL,                                 )
                                                     )
11             Defendant.                            )      (PROPOSED)
                                                     )
12
             BEFORE THE COURT is Defendant’s Motion to Reopen Detention Hearing (Ct.
13
     Rec. __). For the reasons set forth in Defendant’s motion, IT IS HEREBY ORDERED
14
     that Defendant’s Motion to Reopen Detention Hearing (Ct. Rec. __) is GRANTED. The
15
     district court executive is directed to enter this order and provide copies to counsel.
16
     DATED this ___ day of _______, 20__.
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                                                ___________________________________
19                                                    JAMES P. HUTTON
                                               UNITED STATES MAGISTRATE JUDGE
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     ORDER                                           1
